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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

      - - - - - - - - - - - - - - - x
      IN RE:                        :
                                    :
      AVANTAIR, INC.,               :        Case No. 8:13-bk-09719-CPM
                                    :        Chapter 7
                          Debtor    :
      - - - - - - - - - - - - - - - x
                                             U.S. Courthouse
                                             801 N. Florida Avenue
                                             Tampa, Florida
                                             Held March 24, 2014
                                             3:27 P.M.

                               TRANSCRIPT OF HEARING

      1-Amended Motion for Approval of Sale Free and Clear of Liens
      and to Approve Sale and Bid Procedures N104SL (to include
      omitted Exhibit "D") Filed by Lynn Welter Sherman, Attorney for
      Trustee on behalf of Trustee Beth Ann Scharrer

      2-Motion for Reconsideration of Order Granting Motion to
      Approve Compromise and Motion to Approve Sale RE:N169SL Filed
      by Keith T Appleby on behalf of Creditor Global Aerospace, Inc.

      3-Motion for Approval of Sale Free and Clear of Liens and to
      Approve Sale and Bid Procedures N109SL Filed by Lynn Welter
      Sherman, Attorney for Trustee on behalf of Trustee Beth Ann
      Scharrer

      4-Objection to Motion for Order Directing Rule 2004 Examination
      of Dallas Airmotive, Inc. Filed by Marvin H Mohney on behalf of
      Creditor Dallas Airmotive, Inc.

                         (Motions Continued on Next Page)


                   BEFORE THE HONORABLE CATHERINE PEEK MCEWEN
                         UNITED STATES BANKRUPTCY JUDGE

             Proceedings Digitally Recorded by Court Personnel;
        Transcript Produced by Court-Approved Transcription Service.

      _____________________________________________________________
                       JOHNSON TRANSCRIPTION SERVICE
                          7702 Lake Cypress Drive
                           Odessa, Florida 33556
                               (813) 920-1466
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                                   CONTINUED MOTIONS

      5-Motion for Final Relief from Stay based upon Default Motion
      for Order Granting Final Stay Relief in Favor of Midsouth
      Services, Inc. and Clear Aircraft, Inc. Filed by Michael C
      Markham on behalf of Clear Aircraft, Inc., MidSouth Services,
      Inc.

      6-Motion for Reconsideration of Order Granting Expedited Motion
      to Approve Compromise of Controversy With Fractional Owners of
      N104SL Filed by Keith T Appleby on behalf of Creditor Global
      Aerospace, Inc.

      7-Motion for Reconsideration of Order Granting Expedited Motion
      to Approve Compromise of Controversy with Fractional Owners of
      N109SL Filed by Keith T Appleby on behalf of Creditor Global
      Aerospace, Inc.

      8-Motion for Approval of Sale Free and Clear of Liens and to
      Approve Sale and Bid Procedures N138SL Filed by Lynn Welter
      Sherman, Attorney for Trustee on behalf of Trustee Beth Ann
      Scharrer

      9-Motion for Approval of Sale Free and Clear of Liens and to
      Approve Sale and Bid Procedures N134SL Filed by Lynn Welter
      Sherman, Attorney for Trustee on behalf of Trustee Beth Ann
      Scharrer

      10-Motion for Approval of Sale Free and Clear of Liens and to
      Approve Sale and Bid Procedures N146SL Filed by Lynn Welter
      Sherman, Attorney for Trustee on behalf of Trustee Beth Ann
      Scharrer

      11-Motion for Approval of Sale Free and Clear of Liens and to
      Approve Bid Procedures N176SL Filed by Lynn Welter Sherman,
      Attorney for Trustee on behalf of Trustee Beth Ann Scharrer

      12-Motion of Kevin McKamey, Steven Santo, David Haslett and Tom
      Palmiero for Approval of Defense Costs Under Directors' and
      Officers' Insurance Policy and for Relief From the Automatic
      Stay Under 11 U.S.C. § 362 Filed by Steven R Wirth on behalf of
      David Haslett, Kevin V. McKamey, Tom F. Palmiero, Steven Santo




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                                CONTINUED APPEARANCES

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                                CONTINUED APPEARANCES

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                               CONTINUED APPEARANCES

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   1                            P R O C E E D I N G S

   2              COURTROOM CLERK:       Avantair, Incorporated, 13-9719.

   3              THE COURT:     All right.      I’ll take appearances.       We’ll

   4   go through the roll call for the phone appearances first.

   5              Amanda Applegate for various owners?

   6              MS. APPLEGATE:      Present.

   7              THE COURT:     Christina Costley for Santo, et al?

   8              MS. COSTLEY:     Yes, I’m here.

   9              THE COURT:     All right.      Let’s see.      Michael

  10   Crosnicker for Signature Flight Support?

  11              MR. CROSNICKER:      Present, Your Honor.

  12              THE COURT:     All right.      Brian Gart with Teterboro

  13   Rams?

  14              MR. GART:    Yes, Your Honor.        Thank you.       And I’m also

  15   representing another creditor, an interested party, Bravia

  16   Avanti Investors.

  17              THE COURT:     How do you spell the first word?

  18              MR. BART:    It’s Bravia, Your Honor, B-r-a-v-i-a,

  19   Avanti Investors, LLC.

  20              THE COURT:     All right.      Thank you.

  21              Andrew Gold --

  22              MR. GART:    Thank you.

  23              THE COURT:     -- representing Mr. McKamey?

  24              (No response.)

  25              THE COURT:     All right.      Not here.



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   1              Gregory Plotko representing LW Air?

   2              MR. PLOTKO:      Present, Your Honor.

   3              THE COURT:      And last but not lease, Nicolette Vilmos

   4   for Hutchison Advisors?

   5              MS. VILMOS:      Yes, Your Honor.        Thank you.

   6              THE COURT:      Now, in the courtroom I’ll take

   7   appearances.

   8              MS. SHERMAN:      Good morning, Your Honor -- good

   9   afternoon, Your Honor.       Lynn Welter Sherman representing Beth

  10   Ann Scharrer as Chapter 7 Trustee, and Ms. Scharrer was not

  11   available to make the hearing this afternoon.

  12              THE COURT:      All right.      Thank you.

  13              MR. WIRTH:      Good afternoon. Your Honor.            Steven Wirth

  14   on behalf of Steven Santo, David Haslett, Tom Palmiero and

  15   Kevin McKamey.

  16              THE COURT:      All right.      Thank you.

  17              MR. ELGIDELY:       Good afternoon, Your Honor.          Robert

  18   Elgidely as special counsel to the Trustee.

  19              THE COURT:      All right.      Thank you.

  20              MR. MOHNEY:      Your Honor, Marvin Mohney appearing for

  21   Dallas Airmotive, Inc.

  22              THE COURT:      Thank you.

  23              MR. MARKHAM:      Michael Markham for MidSouth Services

  24   and Clear Aircraft.

  25              THE COURT:      All right.      Thank you.



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   1              MR. VERONA:     Good afternoon, Your Honor.           Jay Verona

   2   and Quincy Bird for the 200 or so fractional owners.

   3              THE COURT:     All right.      Thank you.

   4              MR. CLARK:     Your Honor, Roger Clark and Keith Appleby

   5   on behalf of Global Aerospace.

   6              THE COURT:     All right.      Thank you.

   7              MR. ANDERSEN:      Your Honor, Don Andersen on behalf of

   8   CCA of Tennessee.

   9              THE COURT:     All right.      Thank you.

  10              MS. CHAZAL:     Good afternoon, Your Honor.           Amanda

  11   Chazal on behalf of Piaggio America, Inc.

  12              THE COURT:     And thank you.       And that’s everybody?

  13              Okay, not everybody.        Who’s with you, Mr. Mohney?

  14              MR. MOHNEY:     I’m sorry.      I’ll introduce, this is

  15   general counsel for Dallas Airmotive, Joseph Kulik.

  16              THE COURT:     All right, good.        Thank you.     How do you

  17   spell the last name?

  18              MR. KULIK:     K-u-l-i-k, Your Honor.

  19              THE COURT:     Thank you.

  20              All right.     We have -- we’ll take up the insurance

  21   issue, the O&D.    Do y’all have settlements?

  22              MS. SHERMAN:     Your Honor, Mr. Markham would like to

  23   be excused.   His item, which is No. 6 on the calendar, which is

  24   a motion for relief from stay by MidSouth Services, he would

  25   like to bump that to the April 28th calendar.              The propellers



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   1   and engines were not identified in the motion for relief from

   2   stay and it’s not entirely clear which propellers and engines

   3   they’re moving for stay relief with respect to.                   So we’re going

   4   to kick that, if we could, Your Honor.

   5               THE COURT:     Are you going to file an amended motion

   6   -- or a supplement to it rather?

   7               MR. MARKHAM:     That’s fine, Judge.         It’s part of the

   8   issue.    As I’ve told the Court many times, my client isn’t a

   9   fractional owner; it was a lessor.           And so there are eight

  10   aircraft out there that have always been titled in my client’s

  11   name and my client’s name only, so we don’t have some of the

  12   other issues.

  13               Now, we may have issues with props remaining.                I know

  14   that there are a couple of props out in Dallas that my client

  15   thinks belong to his claims that are on some of Mr. Verona’s

  16   clients’ planes is what I’m told.           We need to try to work

  17   through that.    We just worked through this past week returning

  18   a prop to Plotko’s client that was apparently on one of our

  19   planes.

  20               My concern with these omnibus procedures is that even

  21   the last omnibus order, Judge, says that -- has some statement

  22   to the effect that if you sell it -- if you sell the aircraft,

  23   you could be subject to sanctions for violating the stay.                  And

  24   I guess my question to the Court is -- I can appreciate how,

  25   you know, the process is working for the fractional owners



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   1   because a lot of those are figuring out what’s going on and

   2   then they’re coming back and selling the plane here.                 That’s

   3   not going to happen with my client’s plane.              So to agree to an

   4   order that’s got that in it is to agree to a kind of a forever

   5   cloud on title.

   6              At some point, I’ve got to get perfect clear title so

   7   my client can move forward.         And so these conditional

   8   provisions in the omnibus orders just aren’t helpful.

   9              THE COURT:      Well, why don’t we say you can do

  10   whatever you want so long as you don’t do it with props or

  11   engines that are not yours.

  12              MR. MARKHAM:      I’m fine with that, Your Honor.            And I

  13   don’t have an issue about props and engines that aren’t mine.

  14   And we’ve been working that out with the individual people that

  15   we’ve had issues with.

  16              THE COURT:      Well, take yours off and set them

  17   someplace and tell them to come get them.

  18              MR. MARKHAM:      And we’ve done that.          We’ve delivered

  19   them, we’ve made them available --

  20              THE COURT:      Good.

  21              MR. MARKHAM:      -- we’ve exchanged them.             We’ve done

  22   all that, Judge.     But when you talk about the aircraft

  23   themselves, I’ve got to get to the point where the Trustee is

  24   not claiming any interest in these aircraft.

  25              THE COURT:      She’s not.



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   1              MR. MARKHAM:      Well, I don’t know.         You’ll have to

   2   hear from the Trustee’s counsel on that issue.

   3              THE COURT:      Is she claiming an interest in a lease or

   4   the aircraft themselves?

   5              MS. SHERMAN:      Your Honor, these leases are in fact

   6   disguised as security agreements.           They were terminated under

   7   Article 2(a), not Article 9, prepetition.              Depending whether

   8   there was equity in the airplanes or not, we may or may not

   9   have a problem with the underlying transaction.

  10              So consistent with what we have been doing on all the

  11   other planes, we haven’t been determining ownership, which

  12   requires an adversary proceeding.           We’ve been granting people

  13   stay relief whether it’s a fractional plane or any other.

  14              If Mr. Markham’s client wants a determination -- a

  15   determination of ownership, we’re probably -- we either need to

  16   sit down and resolve it and maybe do some informal discovery,

  17   or we’re going to need an adversary proceeding.

  18              THE COURT:      Or I could say that they could take them

  19   subject to any security interest.

  20              MS. SHERMAN:      Which I don’t think is going to help

  21   Mr. Markham out.     So we -- I’m hopeful we can resolve it

  22   between now and April 28th.         But if we can’t, it’s the same

  23   reason, you know, you can’t have your cake and eat it too.

  24   It’s --

  25              MR. MARKHAM:      Well, Judge, it’s really not the same



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   1   reason.   Even if the Trustee could somehow make an argument

   2   that these were disguised financing arrangements, they’re still

   3   Article 2(a) leases one way or the other.              We gave all the

   4   notices under Article 2(a) prepetition --

   5              THE COURT:      Okay.

   6              MR. MARKHAM:      -- okay?      We didn’t terminate the

   7   leases.   We advised the Debtor that we were retaining them

   8   subject to our rights under Article 2(a), which is, you can

   9   preserve your right to damages.          We did that; all right?          We

  10   filed a proof of claim that outlines, you know, our damage

  11   claim and crediting for value against each one of these

  12   aircraft in our proof of claim.

  13              We’re happy to sit down with the Trustee, Your Honor.

  14   But I’m just alerting the Court, when we come back on the 28th,

  15   an order that reserves some rights in the estate doesn’t help

  16   me.   I’m not -- I’ve been letting this issue go for all these

  17   months because the Trustee’s been busy doing a lot of things

  18   and I don’t want to interfere with what you’re trying to do.

  19              THE COURT:      Okay.    Get it resolved by April the 28th.

  20   Read Grubbs; I’m sure you’ve read Grubbs already.

  21              MR. MARKHAM:      Many times, Your Honor.              You know, even

  22   if it’s a Grubbs thing, if the planes are upside down, they’re

  23   upside down and it wouldn’t matter one way or the other.

  24              THE COURT:      True.    Is there a prior lien?           3 p.m.

  25              MR. MARKHAM:      Yeah, Judge, every one of my client’s



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   1   planes have liens to his lender.

   2              THE COURT:      Okay.

   3              MR. MARKHAM:      So I don’t know -- I mean, we’re happy

   4   to sit down, and if -- you know, between now and the 28th and

   5   try to get it worked out.

   6              THE COURT:      Okay.    All right.      Then the sixth thing

   7   on my calendar, which is Document 646, gets continued in open

   8   court to April the 28th at 3 p.m.           We’ll post the docket.

   9   Y’all will get an email.        You may be excused.

  10              And now let’s get the -- Mr. Elgidely up here --

  11              MR. MARKHAM:      Thank you, Judge.

  12              THE COURT:      -- and Mr. Wirth and whoever else is

  13   involved in that insurance issue.

  14              MR. WIRTH:      Judge, I believe we’ve worked out a

  15   resolution of this motion.         It’s effectively on the same terms

  16   as the advancement motions -- the prior advancement motions

  17   have been settled on.

  18              There will be no determination of whether this is

  19   property of the estate.        The defense costs may be advanced by

  20   the insurer.    And the reasonableness of the fee -- of the

  21   defense cost being advanced will be determined by the insurer.

  22   The Trustee would reserve its right to seek an expedited

  23   hearing going forward for fees being advanced if they thought

  24   those fees were unreasonable.

  25              THE COURT:      Okay.    All right.      Have you already sent



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   1   in a proposed order on the other ones that were like this?

   2              MR. ELGIDELY:       Have not, Your Honor.

   3              THE COURT:      Why don’t you make it one order and give

   4   the reference to both hearing dates; okay?

   5              MR. WIRTH:      Judge, I think it’s going to require more

   6   than one order because, if you recall -- we could probably do

   7   one order on the Trustee’s claims, but this motion relates to a

   8   litigation pending in California.           So I think the separate

   9   state law cases will require separate orders.

  10              THE COURT:      That’s fine.      I mean, you can do it

  11   however you want.      I mean, if they were specific with case

  12   names or case numbers, you could have it be an omnibus order.

  13   I don’t care.

  14              MR. WIRTH:      Okay.    And, Judge, also, there’s the same

  15   reporting requirements that -- to the Trustee regarding fees.

  16              THE COURT:      Okay.

  17              MR. ELGIDELY:       That’s correct, Your Honor.

  18              THE COURT:      Good.    All right.      Then -- next time you

  19   can come in by phone, you know.

  20              MR. ELGIDELY:       Understood, Your Honor.            I had other

  21   matters here today before Judge Delano, so --

  22              THE COURT:      Okay.    All right.      Good.    Thank you all.

  23              MR. WIRTH:      Thank you, Judge.

  24              THE COURT:      All right.      You can leave, Mr. Wirth.

  25              And then what about -- let’s see.             Who is it that



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   1   made an appearance for Mr. Santo, et al?

   2               MS. COSTLEY:     Christina Costley, Katten Muchin.

   3               Okay.   Do you want to -- if you want to hang up, you

   4   wouldn’t offend me; okay?

   5               MS. COSTLEY:     Thank you, Your Honor.

   6               THE COURT:     All right.      And also -- well, Mr. Gold’s

   7   not here.

   8               All right.     What about the 2004 exam motion?       And

   9   then I think everything else relates -- has common issues.

  10               MR. VERONA:     Your Honor, I think we’ve resolved that

  11   with DAI.    Attached to DAI’s objection was a proposed agreed

  12   protective order, a rather lengthy one.             We have sat down --

  13   “we,” meaning my office and Mr. Mohney and in-house counsel,

  14   have sat down and marked up that proposed order.

  15               And what I’d like to do is submit a proposed order

  16   granting in part our motion for a 2004 exam, directing that

  17   they’re going to produce the agreements that they claim are

  18   confidential pursuant to the agreed protective order as

  19   modified by agreement of the parties.

  20               THE COURT:     Okay.    And so the one that I have in my

  21   folder that doesn’t talk about a hearing, I can throw that

  22   away; is that right?

  23               MR. VERONA:     In the proposed order?

  24               THE COURT:     Yes.

  25               MR. VERONA:     Yes.



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   1                THE COURT:    Done.    Then you have one that you’re

   2   going to walk up here?

   3                MR. VERONA:    No.    I’m going to -- we’re going to have

   4   to do it and submit it.

   5                THE COURT:    Okay.    So, Mr. Mohney, you’ve resolved

   6   this in a way that -- and you’re both on the same page; right?

   7                MR. MOHNEY:    That’s correct, Your Honor.           We’ve

   8   worked through the language and they’re going to edit the

   9   document.    We’ll take a look at the final copy and submit it

  10   for entry.

  11                THE COURT:    Okay.

  12                MR. MOHNEY:    And that should resolve the 2004 motion.

  13                THE COURT:    Okay.    So then am I sustaining in part

  14   your objection?     How is it dealt with in the proposed order,

  15   Mr. Verona?

  16                MR. VERONA:    I think we’ll sustain it in part and

  17   overrule it in part.       We will, of course, reserve our rights to

  18   seek an actual examination once we see the documents.               I think

  19   Mr. Mohney understands and is fine with that.

  20                MR. MOHNEY:    Your Honor, it’s without prejudice to

  21   any parties, either for the 2004 or Rule 26, under the

  22   contested matters in the adversary proceedings.

  23                THE COURT:    Okay.    All right.      So then No. 5, Ms.

  24   Garcia, just mark it sustained in part and overruled in part

  25   pursuant to the agreement of the parties, and then without



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   1   prejudice for further exams.

   2               THE COURT:     Okay.    All right.      Now Ms. Sherman.

   3               MS. SHERMAN:     Your Honor, if you could take the

   4   motions for reconsideration, that’s No. 3 on the Court’s

   5   calendar, which is a motion for reconsideration of the order

   6   approving compromise on N169SL, which is Doc. 616.                There’s a

   7   similar motion for reconsideration on the order approving

   8   compromise with N104SL, which is Doc. 630 and is No. 7 on the

   9   Court’s calendar.      And there’s a third motion for

  10   reconsideration as to 109SL, which is Doc. 631, which is No. 8

  11   on the Court’s calendar.

  12               THE COURT:     Okay.

  13               MS. SHERMAN:     Those were all filed by Global

  14   Aerospace and I don’t want to --

  15               THE COURT:     There’s a joinder, though, isn’t there?

  16   I thought there was somebody that had a joinder in that.               Well,

  17   there was -- maybe it was unwritten and maybe it was Mr.

  18   Andersen?    Am I recollecting correctly or no?

  19               MR. ANDERSEN:      Judge, we never formally joined with

  20   that request for reconsideration.

  21               MS. SHERMAN:     Your Honor, I don’t want to steal Mr.

  22   Clark’s motion, but I just wanted to put the motion for

  23   reconsideration in context.

  24               The motions were all teed up procedurally as a

  25   dispute between CCA, a single creditor that has a fractional



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   1   interest in N162SL and two other planes, and the owners of

   2   169SL where CCA wanted to claim an interest in the waterfall

   3   from the sale of N169SL, even though CCA is not in fact a

   4   fractional owner of that plane.          So we have a fairly small sum

   5   involved and two very limited parties, the fractional owners of

   6   N169SL and CCA.

   7               Global got involved and filed almost a nisi brief

   8   regarding the issue.       And one of the arguments by both CCA and

   9   Global was that when parts were removed from N162SL that they

  10   were converted if they were not replaced.              And if Your Honor

  11   recalls, we had hearings on several different days, and one day

  12   I guess the recording machine didn’t record.

  13               And we had really very limited evidence.              We had the

  14   documents from Mr. Andersen’s client, they’re agreements.               We

  15   had a couple of affidavits from NetJets as to what industry

  16   practice was.

  17               But we didn’t really have much evidence before the

  18   Court as far as what actual parts were missing; when they were

  19   taken off; why were they taken off:            Were they shipped out for

  20   repairs, were they put on another plane, were they chucked in

  21   the trash, were they sold on Craig’s List?; and where the parts

  22   were now.    So we were operating on somewhat of a limited

  23   record.

  24               The order that was ultimately entered, Your Honor

  25   determined that CCA did not have a interest in those parts.



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   1   And the order that was ultimately entered was the standard:

   2   For the reasons stated on the record in open court that shall

   3   constitute the findings of the Court.

   4              And I understood Your Honor’s ruling, and maybe I’m

   5   oversimplifying it, was that whether it was a conversion or

   6   whether it was a breach of contract, it gave rise to a capital

   7   “C” Claim for damages against the Debtor, not an in rem

   8   interest and into another plane.

   9              But there are all kinds of statements that were made

  10   on the various records, and they’re quoted at length in Mr.

  11   Clark’s motion for reconsideration, that are undoubtedly going

  12   to whether they were in fact the Court’s findings, whether it

  13   was the Court questioning a party or playing devil’s advocate

  14   with a party during the course of the hearings -- they were

  15   lengthy -- that are going to undoubtedly find their way into

  16   other proceedings involving other parties other places.

  17              The Trustee’s concern is specifically the directors

  18   and officers policy.       We’ve made a policy limits demand under

  19   the directors and officers policy.           And if the Court found that

  20   there was or was not a conversion, or if a particular sentence

  21   from one of the transcripts taken out of context would suggest

  22   that the Court had made such a ruling, it may impact the D&O

  23   fund.

  24              Similarly, under the policies that plead insurance,

  25   if the Court did make a ruling one way or the other on the



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   1   conversion issue or if the transcripts were argued to say that

   2   Your Honor did make a ruling one way or the other, it could

   3   have collateral consequences to a lot of other parties in a lot

   4   of other contexts.

   5              So as I understand it, Mr. Clark, his thrust of his

   6   motion for reconsideration is that he would like to see a

   7   sentence added to the order that expressly says that the Court

   8   did not make specific findings one way or the other on the

   9   conversion issue so that as we all go out into the world and

  10   have --

  11              THE COURT:      Which type of conversion?              The conversion

  12   that Mr. Andersen spoke of that would mean that the ownership

  13   is still reposited to the original owner, or the kind of

  14   conversion that is a tort?         In other words, for title purposes

  15   or for tort purposes?

  16              MS. SHERMAN:      Well, Your Honor, I’m not sure that

  17   anyone distinguished during the course of the record, and I

  18   would submit to the Court as I’m standing here today, probably

  19   both, capital conversion for tort purposes or a conversion for

  20   purposes of transferring ownership.

  21              THE COURT:      I think as to the one that you just

  22   mentioned, I did.      I said that ownership -- that the part on

  23   the plane that went somewhere else is not still owned by the

  24   original owner given the contractual provisions that generally

  25   permit both removability and replaceability.               So in terms of



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   1   title, title did not stay with the original owner.

   2               MS. SHERMAN:     I guess I never understood that to be a

   3   conversion argument.       I understood that to be a title argument.

   4   So maybe it’s semantics, Your Honor.

   5               THE COURT:     But Mr. Andersen used the word

   6   “conversion,” and you talked about the hot car; right?

   7               MR. ANDERSEN:      Yes, Your Honor.

   8               THE COURT:     I’m saying that these are not hot parts.

   9               MS. SHERMAN:     And I think that Mr. Verona and Mr.

  10   Clark and the Trustee -- well, I know the Trustee -- are all in

  11   support of a clarifying sentence being made in that order as

  12   far as the tort of conversion to clarify that Your Honor did

  13   not make specific findings concerning the --

  14               THE COURT:     I only went as far as I needed to, and

  15   that is:    There was a breach of contract claim.                 There is a

  16   breach of contract claim for the way that the parts were not

  17   replaced.    The owners had an expectation under the contract of

  18   certain things happening.        But when the musical chair -- I keep

  19   talking about the musical chair game.            When the music stopped,

  20   there were not sufficient replacement parts.               That’s a breach

  21   of contract.

  22               The Eleventh Circuit says that a tort of conversion

  23   can exist coincident with a breach of contract, Misabec

  24   Mercantile, Inc. De Panama v. Donaldson, Lufkin & Jenrette ACLI

  25   Futures, Inc., 853 F.2d 834, Eleventh Circuit 1988.                   In that



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   1   case there was not the something more, as I understand the

   2   holding, not the something more that would have led to a

   3   conversion claim.      The court says this:         A simple breach of

   4   contract does not ordinarily constitute civil theft or

   5   conversion.

   6                So I didn’t go -- I didn’t cover the waterfront.            I

   7   was only making a distinction between the hot car argument, is

   8   title still possessed in the original owners or is it not, not

   9   the tort of conversion.        And I think I said that.

  10                MR. VERONA:    Your Honor, I think that when the term

  11   “conversion” was being thrown around, I think most of the

  12   lawyers -- but I can only speak for myself.              I was thinking of

  13   the tort of conversion and I agree, you didn’t need to rule on

  14   that in order to determine who has title to the parts in all

  15   the airplanes.

  16                You ruled as a matter of law that the language of the

  17   program documents either were plain on their face or they were

  18   ambiguous.    You carefully quizzed Mr. Andersen about whether he

  19   could produce or could have produced contract affidavits as to

  20   the industry standard regarding moving parts around.              And after

  21   much hemming and hawing, I think he acknowledged that our

  22   affidavits --

  23                THE COURT:    He didn’t hem and haw.

  24                MR. VERONA:    Well, okay.

  25                THE COURT:    He possesses a good degree of credibility



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   1   and candor with the Court.

   2               MR. VERONA:     Okay.    Well, it took about eight pages

   3   of the transcript, that’s all I --

   4               THE COURT:     The industry standard is to grant this

   5   permission, but the allegation is someone, i.e. this Debtor,

   6   took advantage of that.

   7               MR. VERONA:     Okay.    Notwithstanding all of that, the

   8   subsequent -- I think at the original hearing when you

   9   announced your ruling, you were very clear on that.               And I

  10   think you were asked to expound upon that.              And there were some

  11   comments made concerning conversion that I think could be taken

  12   out of context.

  13               My primary concern is I’d like to make sure that when

  14   this matter goes up on appeal, that it is as appellate-proof as

  15   possible.    Global has asked that one line be added to the order

  16   that basically says that the Court wasn’t expressly determining

  17   conversion, and we don’t have a problem with that because --

  18               THE COURT:     Didn’t need to.

  19               MR. VERONA:     Right, exactly.        So we’d like to see

  20   that --

  21               THE COURT:     The difference was title or ownership

  22   versus claim for damages.

  23               MR. VERONA:     Exactly.

  24               THE COURT:     So if you all have agreed to language,

  25   then we don’t even have to have much of a hearing today; right?



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   1                MR. VERONA:    Correct.

   2                THE COURT:    Great.

   3                MR. CLARK:    Your Honor, I’m not completely clear that

   4   that’s necessarily the case.         And in regard to the case that

   5   the Court cited making the distinction between title and the

   6   tort of conversion --

   7                THE COURT:    No, that’s not -- that’s not what this

   8   case says.    This case says that a simple breach of contract

   9   without more does not arise to the tort of conversion.              In

  10   other words, this case stands for the proposition that breach

  11   plus something can amount to the tort of conversion.

  12                MR. CLARK:    Right.    And those are a couple of issues

  13   I would like to address because, in light of some of the

  14   statements that have gone on the record over a series of three

  15   or four different hearings, I do agree with Ms. Sherman that

  16   they could be taken out of context at some point in time.                And

  17   I’d like to take a few moments and visit some of these issues

  18   because of why I think it’s so important to have this

  19   absolutely clear.

  20                And let me start first with the -- back up to the

  21   management agreement because this is a point of the management

  22   agreement that the Court really hasn’t been directed to

  23   previously with any detail.

  24                Section 6 of that agreement is called Covenants,

  25   Representation, and Warranties of the Manager.               And pursuant to



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   1   that section, Avantair specifically warranted to the fractional

   2   owners that Avantair would maintain the airworthiness of the

   3   aircraft in good standing and arrange for the inspection,

   4   maintenance, repair and overhaul of the aircraft in accordance

   5   with all maintenance programs and standards established by the

   6   manufacturer in this case, Piaggio, as well as the FAA, and

   7   that the manager would keep the aircraft in good operating

   8   condition at all times.

   9              Now, we know that in August of 2013, the Federal

  10   Aviation Administration and the Office of Chief Counsel of

  11   Enforcement for the FAA issued an emergency order of suspension

  12   and a companion notice of the proposed certificate action.              And

  13   based upon its administrative investigation, the Office of

  14   Chief Counsel for Enforcement found that specifically each

  15   aircraft that it inspected had been stripped of key components

  16   and those aircraft were not flown for several years.

  17              The FAA also concluded that Avantair was guilty of

  18   systemic failure to properly track maintenance --

  19              THE COURT:      Big breach, big breach of contract.

  20              MR. CLARK:      Well, and also this is what I’m getting

  21   to, because the Court also said that the failure to maintain

  22   the parts, which are life-limited, which is very critical in

  23   aviation, basically made these parts unairworthy, unsafe, and

  24   unuseable, which is essentially the same thing, I think, as

  25   Avantair taking the parts off the aircraft and --



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   1              THE COURT:      Huge breach.

   2              MR. CLARK:      -- doing something with them.          And as a

   3   result, the FAA concluded that there was an emergency affecting

   4   safety and air commerce and it was necessary for the FAA to

   5   take immediate action to ground the entire fleet.

   6              Now, with those actions -- and it’s not clear to me

   7   at this point if the Court has taken judicial notice of the

   8   actions of the FAA.      I know that those -- the notice of

   9   proposed certificate action and the emergency suspension order

  10   are in the court file.

  11              THE COURT:      I made them file those so everyone would

  12   know.

  13              MR. CLARK:      Yes.    Yes, thank you.       And so therefore,

  14   to the extent that that constitutes facts before this Court,

  15   it’s clear that Avantair was in breach, as the Court just

  16   pointed out, of many parts of the management agreement,

  17   including the part that I just referenced.

  18              Now, in regard to the issue of conversion,

  19   conversion, as the Court well knows, is a subject much broader

  20   than theft or civil theft or even criminal theft, but basically

  21   states that one authorized to make particular use of a chattel

  22   and then uses it in a manner exceeding that authorization is

  23   subject to liability -- to conversion to another whose right to

  24   use or control of that chattel is seriously violated.

  25              So Avantair here was authorized to make use of these



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   1   aircraft but was also required to keep them in airworthy

   2   condition and to maintain them in accordance with the rules of

   3   the FAA and the Piaggio requirements.            Its failure to do that,

   4   as already reflected by the findings of the FAA, was an act by

   5   Avantair in excess of its authorization.             So that convert --

   6   that itself constitutes conversion, even --

   7              THE COURT:      Well, under Misabec you may have a great

   8   case.

   9              MR. CLARK:      I’m sorry, Your Honor?

  10              THE COURT:      I said under Misabec you may have a great

  11   case, but I don’t need to go there.            What difference does it

  12   make?   My issue was just title or not title.              That was the

  13   objection that Mr. Andersen raised.

  14              MR. CLARK:      Right.    Right.     Well, as I’ve said, you

  15   know, in the past, and I will say it again today, there

  16   continues to be some concern on behalf of Global that in light

  17   of how the Court’s articulating this, that this issue can come

  18   up at some later time by some fractional owners.                  Therefore,

  19   we’re hesitant that if the Court is construing the contract to

  20   any extent or if it’s making any type of factual findings to

  21   support its determination, that that could, at this point,

  22   create an issue that might create a problem somewhere down the

  23   road.

  24              We don’t have a problem if the Court is basing its

  25   decision strictly on equitable grounds because that avoids any



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   1   possible argument that the contract’s been construed in a

   2   certain way or that there were any certain factual findings

   3   made --

   4                THE COURT:    Well, I think I put a backstop because I

   5   forgot to, in the first hearing, to say -- and someone used the

   6   phrase, I can’t remember exactly what it was, but it would be

   7   cumbersome, it would be -- this isn’t the right phrase -- too

   8   hard to sort out where each part goes from the beginning all

   9   the way -- you know, going backwards to reconstruct the claim,

  10   every single nut, bolt, everything.            That would be something

  11   that just, you know, we couldn’t do.

  12                I don’t know if I have jurisdiction to even force

  13   someone to bring a plane over here so I can take a screw off of

  14   it and put it on a Debtor-owned plane.             It would be an

  15   impossible conundrum.       And that was a backstop that I didn’t --

  16   but that was a fallback.        That was not the original reason for

  17   the ruling.

  18         The original reason for the ruling was I found that title

  19   -- true title did not remain in the owners because of what they

  20   permitted this charter service, or whatever you want to call

  21   it, to do.    And so I said it’s a breach.           I didn’t go so far as

  22   to say that it was breach plus.          But I don’t need to because it

  23   wasn’t important to the issue.

  24                MR. CLARK:    I would suggest --

  25                THE COURT:    I mean why is dicta on some other issue



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   1   that’s not even germane to what was before me on the

   2   compromises, why is that something that you think that some

   3   appellate court is going to say she’s already ruled that there

   4   was no tort of conversion?

   5               MR. CLARK:      Well, my concern would be that because

   6   Global is a party in interest that there could be a

   7   determination at a later time that whatever finding the Court

   8   has made collaterally estops Global from taking a position that

   9   might be contrary to that and therefore it could somehow impact

  10   issues that --

  11               THE COURT:      Okay.    I’m going to say it for the fifth

  12   time:    I wasn’t dealing with the tort of conversion.               I’m not

  13   precluding it.      The Eleventh Circuit says that they can co-

  14   exist.   A simple breach -- I didn’t say it was a simple breach.

  15   I never said that.       That would be a preclusive statement.               I

  16   never said it was only a simple breach.

  17               MR. CLARK:      Well, Your Honor, we do have -- if that

  18   is the case, Ms. Sherman and I did have some language in an

  19   order that we would request the Court to review and see if that

  20   doesn’t then accurately set forth what the Court is ruling

  21   today.   And --

  22               THE COURT:      I’m not changing my ruling.            I’m not

  23   ruling anything.      I’m making my ruling the same as it has been

  24   consistently since day one.

  25               MS. SHERMAN:      Your Honor, we’d simply be asking for a



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   1   clarification just for future reference --

   2              THE COURT:      I’ll say it again:        I made no

   3   determination about the tort of conversion.              I did not find or

   4   rule that this was only a simple breach of contract.              I said

   5   they can co-exist because the Eleventh Circuit tells us that if

   6   it’s a breach-plus situation.

   7              I have not been asked to rule on the plus.             The plus

   8   is not relevant to the determination of whether the bolt on the

   9   plane -- on the original plane that is now in a plane five

  10   times removed still belongs to the owners of the original

  11   plane.   It wasn’t relevant.        It still isn’t and I’m not

  12   changing my ruling.

  13              I will be happy to clarify again that there’s no

  14   ruling on conversion except for the title issue.

  15              MS. SHERMAN:      Would Your Honor --

  16              THE COURT:      It’s not a hot car.         It’s not a hot bolt

  17   or screw, in other words.

  18              MS. SHERMAN:      We had -- language that Mr. Verona and

  19   Mr. Clark and I had looked at prior to the hearing used the

  20   simple term “conversion.”        But in light of your comment today

  21   about conversion having two meanings, we may want to change it

  22   to the common law court conversion.            But it was adding a

  23   paragraph that says:       The Court makes no legal or factual

  24   determination or conclusion whether the Debtor, through its

  25   alleged acts and omissions, committed one or more acts that



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   1   constitute the common law tort of conversion.

   2              And I think that’s consistent with what you’ve said,

   3   but we’ll now have it in a single piece of paper --

   4              THE COURT:      And --

   5              MS. SHERMAN:      -- rather than 15 different

   6   transcripts.

   7              THE COURT:      -- the Court was ruling only on the issue

   8   of title --

   9              MR. CLARK:      Your Honor, just -- I don’t mean to

  10   overspeak --

  11              THE COURT:      -- based on the analogy of the hot car.

  12   The thief cannot transfer title to someone else.

  13              MR. CLARK:      I just want to correct one thing because

  14   we’ve gone through several variations of the order, which I

  15   understand the Court doesn’t want to deal with.                   But from

  16   Global’s perspective, the issue of conversion wasn’t going to

  17   be confined just to the common law tort of conversion because I

  18   believe the tort of conversion as used in Global policy would

  19   include civil as well as criminal --

  20              THE COURT:      Civil theft, that would be a statute.

  21              MR. CLARK:      Well, it could be civil or criminal

  22   conversion.    But I do -- if you’d beg my indulgence, because I

  23   just want to make sure I understand what the Court’s ruling is.

  24   Because my understanding in cases like Carib Aviation, which is

  25   an Eleventh Circuit case, and some older Florida Supreme Court



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   1   cases, is that you can actually have conversion and breach of

   2   contract if they’re on all fours with one another, meaning that

   3   you don’t have to have something more than the breach of

   4   contract.

   5               Because if the possessor of the property, in this

   6   case Avantair, exceeded its authority under the terms of that

   7   contract, that’s a breach of contract.             But it’s also a

   8   conversion on the four squares of that contract, it does not

   9   require something more.

  10               My concern is that there’s going to be an argument

  11   made later that --

  12               THE COURT:     Criminal intent?        Don’t you have to have

  13   that?

  14               MR. CLARK:     You do not have to have criminal intent,

  15   Your Honor.    You don’t even have to have any type of wrongful

  16   intent as well.     If the Court will bear with me for a second, I

  17   would refer the Court to the Florida Supreme Court case of Star

  18   Fruit.   It’s an older case but still good law.              It just says

  19   the essential element of conversion is wrongful depravation of

  20   property to the owner.

  21               The cases of Seymour, which is at 638 So.2d 1044 says

  22   that the tort of conversion, or conversion for that matter,

  23   will lie even based upon nothing more than a mistaken belief

  24   that the person taking possession or abusing his authority had

  25   the right to possession.        It does not require any type of



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   1   specific intent or intent to take something from someone else.

   2   It can be a mistaken belief.         The key term is that it is

   3   removed in such a way that deprives the owner of possession.

   4              The Carib Aviation case, which we’ve cited, was a

   5   case where --

   6              THE COURT:      And that’s a year before this -- three

   7   years before this other case, Misabec.

   8              MR. CLARK:      But this is -- exactly to your point,

   9   though, Your Honor, is that the pilot leased an airplane, was

  10   going to fly it from Miami to Orlando and that’s what the lease

  11   provided for.

  12              The pilot made a detour to the Bahamas and picked up

  13   some marijuana, and flying back to the mainland, ran out of

  14   fuel and the aircraft went into the water.              The pilot testified

  15   he never had any intent to steal that airplane, that airplane

  16   was going to end up right back in Orlando and it was going to

  17   be returned to the owner.

  18              The court -- the Eleventh Circuit concluded in that

  19   case that that taking of the airplane, deviating from the

  20   flight path for Orlando, going -- making an extra stop into the

  21   Bahamas, exceeded the authority granted to that pilot under

  22   that lease agreement; therefore, it was conversion, even though

  23   there was no intent to steal or permanently deprive the owner.

  24              Now, similarly here, with Avantair, we have a

  25   practice, which the FAA called “systemic,” of taking parts.



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   1   And Avantair wasn’t doing this for the efficiency of the

   2   program I would submit to the Court, but was doing it for its

   3   own economic self-interest because it was not using funds to

   4   buy parts and put them back on the airplane.

   5              These airplanes, some of them have not flown for

   6   years when Avantair had an obligation to keep them currently

   7   airworthy and available.

   8              THE COURT:      And they didn’t have the money to do

   9   that.

  10              MR. CLARK:      Did not have the money and so they --

  11   basically it can be characterized as some kind of a Ponzi

  12   scheme because it’s taking money from other people to keep

  13   funding some airplanes operating to the detriment of the other

  14   fractional owners of some aircraft.

  15              But here we have the grounding orders being issued in

  16   August.   You know, the bankruptcy is occurring in the summer of

  17   2013 --

  18              THE COURT:      Can I ask a question?         All I said is:

  19   I’ve not found that it’s a simple breach; it’s a big breach.

  20   But it’s a breach, and if something else can co-exist with

  21   that, that’s fine.      I don’t need to go there.

  22              It was a title issue.         Is it:     Do you still own the

  23   stuff that was originally on your plane, or is it -- which is

  24   the Humpty-Dumpty theory that Ms. Sherman gave these analogies

  25   in the first hearing -- or is it the musical chair game and you



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   1   get what you get when the music stops?             That’s all I was

   2   deciding.

   3               I mean, if you’re trying to get me to say that there

   4   is a tort of conversion just based on your proffers, I’m not

   5   going to do that either.        There’s no purpose for it in the

   6   context of the compromise motions.

   7               MR. CLARK:     Right.    And we weren’t asking for the

   8   Court to make that determination because I don’t think the

   9   facts are in the record.        As we had argued earlier anything --

  10               THE COURT:     You keep putting them in the record.

  11               MR. CLARK:     -- we thought that would be -- well, but

  12   it -- Your Honor, respectfully, I don’t have a witness to this;

  13   I’m just making a speaking statement.            But as we said earlier,

  14   we suggest that, if the Court was going to make a factual

  15   determination, it would be appropriate to have evidentiary

  16   hearings on this and we need to take the examinations of --

  17               THE COURT:     I made a factual determination that no

  18   one -- and no one said that there would be a dispute of fact --

  19   that the industry standard is X even if the contract -- well,

  20   if the contract weren’t clear enough on its face.

  21               The owners gave permission for things to be taken

  22   off.   They gave it and things -- the original never to be

  23   returned.    They gave that permission.          That’s what made me say

  24   that this is not a title issue, it’s a breach of contract;

  25   could be more than just a breach of contract.               But as distinct



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   1   from the title issue, it’s a breach.

   2              MR. CLARK:      Is the Court, in the reference to “more,”

   3   is the Court ruling that there’s an additional element that has

   4   to be established beyond the breach of contract or is the Court

   5   saying that they can co-exist?

   6              THE COURT:      Let me read you again from the Eleventh

   7   Circuit case; okay?      This is what they said.           Okay.   “A

   8   conversion action is not an appropriate means of vindicating a

   9   claim which essentially alleges breach of contract.”                It goes

  10   on and it says somewhere, “A simple breach of contract does not

  11   ordinarily constitute civil theft.”

  12              I don’t have to get to that if I just look at is it a

  13   breach or is it a title issue.          It’s a breach; it’s not a title

  14   issue.

  15              MR. CLARK:      But in regard to that particular

  16   language, though, the court is referring to civil theft

  17   conversion and does include civil theft.             The conversion is a

  18   much broader concept, Your Honor, and also refers to

  19   “ordinarily” which, to me, suggests that sometimes breach of

  20   contract and conversion can exist on all fours together without

  21   more.

  22              THE COURT:      It says, “Misabec's complaint made claims

  23   of conversion, civil theft, breach of contract, and breach of

  24   fiduciary duty.     Misabec has failed to show that any genuine

  25   issue of material fact exists regarding its conversion claim.”



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   1              It’s just saying that if it’s just a simple breach

   2   alone, you don’t have conversion.           I didn’t rule it was just a

   3   simple breach alone.       I ruled it was a breach, and the breach

   4   means that the owners gave permission to change the parts out.

   5   It’s not the car that’s been stolen and then turned around and

   6   sold to somebody else because title would always remain in the

   7   original owner.

   8              MR. VERONA:      Your Honor, the motion requests that the

   9   Court -- and this is on page 6 of Document 668.                   Global

  10   requests the Court reconsider modifying its order to include

  11   the limitation that in making its ruling approving the

  12   compromise and sale, the Court is not deciding one way or

  13   another whether Avantair is guilty of conversion against

  14   fractional owners.

  15              Everybody’s agreed to it.           And I don’t understand

  16   what the purpose of this proffer is other than to seek an order

  17   saying that there was a conversion, and that requires evidence,

  18   which, you know --

  19              THE COURT:      It’s not needed.        I don’t need to go

  20   beyond -- I just -- I needed to figure out whether or not title

  21   remained in the original owners of all their original parts or,

  22   alternatively, whether they gave permission to have parts

  23   removed and put into a different plane, et cetera, et cetera,

  24   albeit with an expectation that some replacement would find its

  25   way to their plane.      I found the latter; that’s a breach of



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   1   contract.

   2               MR. VERONA:     And the Trustee has agreed to the relief

   3   sought in the motion; my clients have agreed to it.               So it

   4   seems to me we ought to just submit the proposed order --

   5               THE COURT:     Well, give it to me.

   6               Mr. Andersen?

   7               MR. ANDERSEN:      Your Honor, if I may just simply state

   8   in my place.

   9               THE COURT:     Sure.    Pull your microphone a little bit

  10   closer to you.     Thank you.      You can sit down if you like.

  11               MR. ANDERSEN:      Thank you, Your Honor.

  12               MR. VERONA:     May I approach, Your Honor?

  13               THE COURT:     Yes.

  14               MR. ANDERSEN:      Just for clarity on the record, Your

  15   Honor.   CCA of Tennessee and CCA do not wish to re-litigate,

  16   re-argue any of this.       If the order as presented reflects the

  17   Court’s ruling, then we have no objection to the form of the

  18   order.   However, I do think it’s important to emphasize that we

  19   want to reserve all of the arguments that we made at the

  20   original argument, including those relating to whether there

  21   was authority under the program documents.

  22               THE COURT:     Right.    Right, because you’re going to

  23   appeal that.    Yeah.

  24               MR. ANDERSEN:      Yes, Your Honor.

  25               THE COURT:     Right.



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   1               MR. ANDERSEN:      Thank you.

   2               THE COURT:     Now, you might want to find out what the

   3   waterfall is, though, on some of these before you spend time.

   4   I mean, if it’s only a little bit of money, those probably

   5   aren’t good subjects of appeal.

   6               MR. ANDERSEN:      And that’s constantly an issue of

   7   analysis, and I’ve reviewed that with our clients, Your Honor,

   8   so I will do that.

   9               THE COURT:     Yeah, all your arguments and objections

  10   regarding the waterfall provision are reserved.

  11               MR. ANDERSEN:      Thank you, Your Honor.

  12               THE COURT:     Okay.    So where are we now?

  13               MR. CLARK:     Mr. Appleby has those proposed orders,

  14   Your Honor.

  15               THE COURT:     And what is the -- where is the new

  16   language?

  17               MR. APPLEBY:     Your Honor, the changes to this order

  18   from Docket No. 597 other than an order amended at the

  19   beginning, there’s a slight change to the first footnote on

  20   page 2 right above the numbered paragraphs, the corrected dates

  21   to reflect the hearings where we discussed this.                  And actually,

  22   Your Honor, I think we probably should add today’s date as

  23   well.

  24               THE COURT:     Well, I’m going to need to have a

  25   proposed order on the actual motion for reconsideration.



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   1                MR. CLARK:    We have one, Your Honor.

   2                MR. APPLEBY:    I’m sorry, Your Honor.          Let me pass

   3   that over.

   4                THE COURT:    I still think the January 15th hearing

   5   date has to be in here.

   6                MR. APPLEBY:    Well, Your Honor, we’ve referenced that

   7   in the footnote on Footnote 1.

   8                THE COURT:    Well, it came before me on January 15th

   9   as well.

  10                MR. APPLEBY:    That’s correct, Your Honor.

  11                THE COURT:    Okay.    And where’s the conversion

  12   language?

  13                MR. APPLEBY:    It’s paragraph 9, Your Honor.

  14                THE COURT:    9.   How do I make it clear that -- the

  15   distinction between what you all mean and what I meant?

  16                MR. VERONA:    Just say a common law tort of

  17   conversion.

  18                THE COURT:    He says that there’s the statutory as

  19   well, Chapter 812.

  20                MR. VERONA:    Well, the issue is what were you

  21   intending.

  22                THE COURT:    I was intending that it was a title issue

  23   or not, title remained versus breach of contract.

  24                MS. SHERMAN:    Should we say “common law conversion”?

  25   We can say “criminal conversion.”           I don’t know that you found



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   1   the common law tort of conversion or the criminal conversion

   2   which would be a statute.         I don’t -- I think Your Honor said

   3   you didn’t find any -- you didn’t have to find whether it was

   4   any of the above.

   5              THE COURT:      Right.    The question is whether it was a

   6   hot car or not.

   7              MS. SHERMAN:      Right.

   8              THE COURT:      And I found it not because the owner gave

   9   permission for parts to be removed and put on a different plane

  10   and that belies any intent to have the original part back.                 So

  11   that’s a breach of contract, not a title issue.

  12              MR. CLARK:      Your Honor, I think that paragraph 9

  13   should read as stated but possibly an additional line that

  14   says, as the Court just said, is that --

  15              THE COURT:      Except for purposes of retention of

  16   title --

  17              MR. CLARK:      I think that’s what the Court just said.

  18              THE COURT:      -- how about that?

  19              MR. CLARK:      Yes.

  20              THE COURT:      Is that okay to everybody?             Except for

  21   purposes of retention of title.

  22              MR. VERONA:      Can I just have a minute to --

  23              THE COURT:      Sure.    Or, except for purposes of

  24   transferability of title; how’s that?            Does that sound better?

  25              MR. CLARK:      I apologize, Your Honor.          Can you --



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   1              THE COURT:      Except for purposes of transferability of

   2   title.

   3              MR. VERONA:      I’m just a little bit confused --

   4   forgive me -- what that adds or how that clarifies anything.

   5              THE COURT:      Because I’m saying that title doesn’t --

   6   the original title owners did not retain title to those parts.

   7              MR. VERONA:      Okay.    I understand.       So I’m okay, then,

   8   with the --

   9              THE COURT:      Except for purposes of transferability of

  10   title.

  11              MR. VERONA:      That’s fine.

  12              THE COURT:      Is that fine?

  13              MR. CLARK:      Would that be in a separate paragraph,

  14   Your Honor, basically saying that --

  15              THE COURT:      No.   I’m going to put a comma after

  16   “conversion.”

  17              MR. CLARK:      And, Your Honor, I would -- I understand,

  18   I think, what the Court is ruling today.             At this point as I

  19   speak, I’m not sure what the full ramifications of it are.              I

  20   cannot stipulate to the accuracy or whether we would agree to

  21   that particular language, but at least I understand what the

  22   Court is saying.

  23              THE COURT:      It was the reason for the decision that

  24   the planes can be sold free and clear of the original owners’

  25   interest in the nut, the bolt, the chair, the cup holder.



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   1              MR. CLARK:      Yes.    And that I understand.

   2              THE COURT:      That’s all I was ruling.

   3              MR. CLARK:      Well, intellectually what I’m struggling

   4   with is how that’s separate from the tort of conversion, which

   5   is the only point that I’m making.           And that’s why I hesitate

   6   to stipulate to any particular language.

   7              THE COURT:      Because of what you just said, the

   8   original transfer can be okay and then what you do with it

   9   afterwards can be not okay.

  10              MR. CLARK:      Well, I don’t want to re-argue this, but

  11   there are circumstances here which we argued that there may be

  12   instances where the original transfer was in violation of

  13   obligations.    But that’s a factual determination that we’ve

  14   argued that would have to be made at a later time.

  15              THE COURT:      And that’s at least a breach of contract,

  16   not -- it doesn’t affect title.

  17              MR. CLARK:      And as the Court has said, it’s at least

  18   a breach of contract but it could also be conversion as well.

  19              THE COURT:      Yes.    And I think I said that at a prior

  20   hearing, that they could co-exist.

  21              MR. CLARK:      Thank you.

  22              THE COURT:      To rule otherwise would be to sustain the

  23   objection that CCA made, which is, you bring everything back to

  24   the original owners and you can’t sell the plane with the other

  25   parts in it.



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   1               MR. ANDERSEN:      Your Honor, if I may, just for the

   2   sake of clarification of CCA’s original objection, our original

   3   objection was not to the sale; it was only to the --

   4               THE COURT:     -- the waterfall.

   5               MR. ANDERSEN:      -- distribution of the proceeds.

   6               THE COURT:     But your distribution was based on that

   7   argument.

   8               MR. ANDERSEN:      And we were simply asking that that be

   9   determined at a later date; in other words, in accordance with

  10   an order of the Court as opposed to a determination based on

  11   the motion that was presented at that time.              Our objection was

  12   that those issues should be determined at a later date.

  13               THE COURT:     Well, I determined them then.

  14               MR. ANDERSEN:      And I understand, Judge.           And if I

  15   may, the only other clarification I would make is simply this:

  16   CCA’s position has not been that parts should be reassembled or

  17   taken back.    Our position, really right from the very

  18   beginning, has been that the next best remedy, given what we

  19   view as a --

  20               THE COURT:     -- conundrum.

  21               MR. ANDERSEN:      -- conundrum of the mixture of all

  22   these parts and airplanes is for the proceeds to be distributed

  23   in accordance with the respective shares of the various

  24   fractional owners in the entire fleet.

  25               THE COURT:     Right.    But the rationale for that was



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   1   that your stuff is on the plane that got sold.

   2               MR. ANDERSEN:      That’s correct, Your Honor.         Thank

   3   you.

   4               THE COURT:     And I’m saying your stuff was not on the

   5   plane that got sold.       It might have been originally your stuff,

   6   but what you have is a breach of contract claim.

   7               MR. ANDERSEN:      Thank you, Judge.

   8               THE COURT:     Okay.    All right.      Are we done?    Oh,

   9   we’ve got the other sale motions.

  10               MR. CLARK:     I think what Ms. Sherman has -- I don’t

  11   want to jump the gun, but I think this would apply to all of

  12   the outstanding motions as well, because I think the issues are

  13   all the same.

  14               THE COURT:     Yes.

  15               MS. SHERMAN:     Yes, to N104SL and N109SL, as well as

  16   N169SL.    And we’ll have to create companion orders that match

  17   the ones we just handed up for N169 and submit those.

  18               THE COURT:     Right.    And then where’s the -- oh, here

  19   it is.    Here’s the order granting.         But I haven’t entered an

  20   order on any of the other ones yet; right?

  21               MS. SHERMAN:     Correct, Your Honor.          On the motion to

  22   compromise, we only have 169, and 104, and 109 at this point.

  23   And those were the only three that would therefore require

  24   (inaudible).

  25               THE COURT:     Okay.



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   1              MS. SHERMAN:      And Mr. Appleby graciously volunteered

   2   to do all the drafting.

   3              THE COURT:      Okay.    What do we take up next?

   4              MS. SHERMAN:      Your Honor, I think the rest of the

   5   calendar is going to move pretty quickly.              The motion --

   6   amended motion for approval of sale free and clear of liens and

   7   to approve sale and bid procedures as to N104SL, which is item

   8   No. 2 on the Court’s calendar at Dockets 650, 723 and 729, Your

   9   Honor, we’re going to be -- the last amendment was just to

  10   include some omitted lienholders.

  11              That plane is going to be sold by Starman Brothers

  12   Auctions who previously conducted the auction and we’d like it

  13   to be in, so we’re going --

  14              THE COURT:      The same guy that did the other one?

  15              MS. SHERMAN:      Yes, Your Honor.        It’s going to be

  16   different terms, so we’re going to be uploading a motion to

  17   approve the retention of Mr. Starman as auctioneer and amending

  18   this particular motion to reflect that it will be a Starman

  19   auction as opposed to some sort of an auction conducted without

  20   an auctioneer by the Trustee.

  21              And I believe we have a number of hearings set for

  22   April 28th.    If we have time before then and we can have it

  23   heard sooner, that would be wonderful.             If not, if we could

  24   kick it back in on April 28th, that would be great as well.

  25              THE COURT:      What do you have available, Ms. Garcia?



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   1               COURTROOM CLERK:       How much sooner before April 28th?

   2               MS. SHERMAN:     I think we’re going to have to give at

   3   least some notice.      If we could -- you know, two weeks from

   4   Wednesday or something right about that, I should have the

   5   motion by then.     We’re tinkering with -- to define the terms of

   6   the auction and retention.

   7               COURTROOM CLERK:       We can do it April 21st.

   8               THE COURT:     That’s a week.

   9               COURTROOM CLERK:       I’m sorry, we can do it April 15th.

  10   Is that too soon?

  11               MS. SHERMAN:     That would be perfect.

  12               COURTROOM CLERK:       April 15 at 10:00.

  13               MS. SHERMAN:     And Item No. 4 on the Court’s calendar,

  14   which is the motion for approval of sale free and clear of

  15   liens as to N109SL, that will also be a Starman motion, Your

  16   Honor.    So if we can do the same thing --

  17               THE COURT:     Same date?

  18               MS. SHERMAN:     -- and bump it to the same date, that

  19   would be great.     And we’ll get the amendment and the

  20   application to employ filed well prior to that hearing.

  21               MR. GART:    Your Honor, may I be heard briefly?          This

  22   is a question to the Court as to what date was chosen?

  23   Apparently we couldn’t hear that over the --

  24               THE COURT:     I’m sorry, April 15th.          At what time, Ms.

  25   Garcia?



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   1                COURTROOM CLERK:      10 o’clock.

   2                THE COURT:    10 o’clock.

   3                COURTROOM CLERK:      Who was just speaking?

   4                THE COURT:    That was Brian Gart.

   5                MR. GART:    Thank you, Your Honor.         This is Brian

   6   Gart.   Thank you.

   7                MR. CROSNICKER:     Your Honor, this is Michael

   8   Crosnicker on behalf of Signature Flight and Support

   9   Corporation.    May I be heard briefly as well?

  10                THE COURT:    Sure.    Go ahead.

  11                MR. CROSNICKER:     We had spoken to Ms. Sherman

  12   regarding Signature’s storage lien on the N104SL and she had

  13   mentioned that she was going to note on the record that

  14   Signature’s lien would be paid from storage proceeds.             I didn’t

  15   hear that, so I just wanted to make a point here that Signature

  16   does have a lien on that aircraft based on possession under

  17   Texas law.

  18                MS. SHERMAN:    Your Honor, I was intending to do that

  19   at the next hearing when we heard the motion to sell.             But

  20   clearly if there’s a lien, we have to pay the lien in whatever

  21   amount the Court determines from the sale proceeds.

  22                THE COURT:    Right.

  23                MR. CROSNICKER:     My apologies, Ms. Sherman.

  24                MS. SHERMAN:    No problem.       We’re on the same page.

  25                THE COURT:    Just like we did with the Pinellas County



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   1   Tax Collector.     There will be a waterfall; right?

   2              MS. SHERMAN:      Yes.    They weren’t originally named as

   3   a lienholder because they didn’t have anything on file with the

   4   FAA and we weren’t aware of the storage lien.               So if we can

   5   work out the amount prior to that hearing, we will.               If not, we

   6   can amend the adversary to add them as an additional defendant

   7   and work it out that way.

   8              MR. CROSNICKER:       We can get back to you.

   9              MS. SHERMAN:      N138SL, Your Honor, is going to be the

  10   third plane.    And I’m going to look to Mr. Bird to make sure

  11   I’m saying this correct.        N138SL is the third plane that’s

  12   going to be using Mr. Starman as an auctioneer?

  13              MR. BIRD:     Yes.

  14              MS. SHERMAN:      And on that one, Your Honor, we’ll need

  15   to do an amendment as well.         And the motion to approve

  16   compromise of controversy for N138SL is set for April 28th, so

  17   it was set after the motion to sell.

  18              So we can hear either N138SL both on the same day on

  19   April 28th or we can -- I think we need to move the motion to

  20   approve compromise up so it’s heard at least at the same time

  21   as the motion to sell because the motion to sell presupposes

  22   that the compromise has been approved and we kind of got the

  23   cart before the horse on that one.

  24              THE COURT:      So we need to put the compromise motion

  25   on April 15th?



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   1              MS. SHERMAN:      Yes.    Or put this particular sale

   2   motion on April 28th with the compromise motion.                  I don’t want

   3   to rearrange the Court’s calendar.           I don’t know how much time

   4   Your Honor has on the 21st, but we need to have them both heard

   5   on the same day or at least --

   6              THE COURT:      The 15th you mean.

   7              MR. VERONA:      15th.

   8              MS. SHERMAN:      I’m sorry, the 15th, yes, yes.

   9              MR. VERONA:      That would be our preference.

  10              THE COURT:      What, the same day?

  11              MR. VERONA:      Yes, ma’am.

  12              MS. SHERMAN:      Both of them to the 15th I think is

  13   what Mr. Verona --

  14              MR. VERONA:      Right, the 15th; the sale and the

  15   compromise on the 15th.

  16              MS. SHERMAN:      On N138SL.

  17              THE COURT:      Or we can do the -- we can do the

  18   compromise on the 15th and the sale on the 28th.

  19              MR. VERONA:      Well, I think from our standpoint, the

  20   sooner the better because --

  21              THE COURT:      Okay, fine.

  22              MR. VERONA:      -- the season for selling is finite.

  23              THE COURT:      Oh, that’s right.

  24              Ms. Garcia, we could put them both on the 15th.                 So

  25   you have to move the compromise motion to the 15th from the



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   1   28th.   What’s left on the 28th?

   2              MS. SHERMAN:      We still have -- we have N134SL, which

   3   is Item 10 on the Court’s calendar; N146SL, which is Item No.

   4   11 on -- and Item No. 12, which is N176SL.              Those three are

   5   also situations where we have the motions to sell set for

   6   hearing today but the motion to compromise is not set for

   7   hearing until April 28th.

   8              So we can either move the motions to approve --

   9              THE COURT:      How much time do we have on the 15th?

  10              COURTROOM CLERK:        All morning.

  11              THE COURT:      Why don’t we just put everything that’s

  12   on the 28th on the 15th?

  13              MS. SHERMAN:      On the sale motions.          I think there’s

  14   other stuff now that’s on the 28th as well.

  15              THE COURT:      Okay.    The non-sale related items can

  16   stay on the 28th.

  17              MS. SHERMAN:      Okay.

  18              THE COURT:      But the compromise and sale motions all

  19   need to be on the 15th.

  20              MS. SHERMAN:      And Mr. --

  21              MR. GART:     Your Honor, this is Brian Gart.          Could I

  22   be heard just briefly again?

  23              THE COURT:      Yes.

  24              MR. GART:     Your Honor, Bravia had filed a limited

  25   objection to all of the sale motions that are being heard



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   1   today, and we would just ask that the limited objection be

   2   heard at the now rescheduled hearing on all these sales on the

   3   15th.   We’re endeavoring to try to resolve this with Ms.

   4   Sherman, but in the event that it isn’t, we’d like the

   5   objection heard that day as well.

   6               THE COURT:     Okay.    So --

   7               COURTROOM CLERK:       Judge, (inaudible).

   8               THE COURT:     On the 28th?

   9               (Conversation between the Court and the courtroom

  10               clerk regarding notice.)

  11               THE COURT:     Okay.    So what do you want to go ahead

  12   with that’s left on our calendar?

  13               MS. SHERMAN:     Your Honor, I think that takes care of

  14   the entire calendar today.

  15               THE COURT:     So we move 2, 4, 7, 9, 10, 11, 12 to the

  16   15th?

  17               MS. SHERMAN:     Your Honor, I’m not sure No. 7 was one

  18   we were moving.     I might be -- I have a different number.            I

  19   think that’s a motion for reconsideration on my calendar.

  20               THE COURT:     Yeah.    Didn’t I skip over that?

  21               COURTROOM CLERK:       No, you said 7.

  22               THE COURT:     I didn’t?     Well, that’s the same issue

  23   that we just ruled.

  24               MS. SHERMAN:     Correct.      So it doesn’t need to go to

  25   the 15th.



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   1               THE COURT:     No.   I just need to get the companion

   2   order; right?

   3               MS. SHERMAN:     Correct.

   4               THE COURT:     So 2, 4, 8, 9, 10, 11, 12; right?

   5               MR. VERONA:     I think 8’s also a motion for

   6   reconsideration.

   7               THE COURT:     Okay.    So I need a companion order on

   8   that one.

   9               COURTROOM CLERK:       2, 4 and 9.

  10               THE COURT:     2, 4, 9 through 12, those go to April the

  11   15th at 10 o’clock.

  12               COURTROOM CLERK:       And then we continued Mr. Markham’s

  13   motion to the 28th.

  14               THE COURT:     His is a stay motion.         That can stay on

  15   the 28th.

  16               Okay.   There’s three motions to approve a compromise,

  17   Ms. Garcia.    You’re saying that’s going to be a big job on the

  18   part of the clerk to re-notice them?

  19               COURTROOM CLERK:       It’s an all-creditor motion, so all

  20   creditors have to get notice.

  21               THE COURT:     Well, how were they noticed for this one?

  22               COURTROOM CLERK:       I don’t know.       That’s what I was

  23   just getting ready to check.

  24               THE COURT:     Well, whoever noticed this one has to

  25   notice the change or get some people to help with that expense.



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   1               MS. SHERMAN:     Your Honor, we served the fractional

   2   owners, all of them, by CM -- by email and we served the entire

   3   CM/ECF list.    And then if it’s not a 100-percent plane, we’ve

   4   been serving any non-fraction -- non-settling fractional owners

   5   by snail mail.     And if we could serve the hearing notice by

   6   email and snail mail on that same group of people, that’s

   7   something my office can do --

   8               THE COURT:     Okay.

   9               MS. SHERMAN:     -- very easily as far as the hearing

  10   dates.   So if you want us to send out the hearing notice --

  11               THE COURT:     Notice --

  12               MS. SHERMAN:     -- moving those three and then

  13   scheduling the rest -- putting everything onto April 15th, we

  14   can do that.

  15               THE COURT:     Well, the ones that are noticed for today

  16   that we’re going to continue in open court, those don’t need to

  17   be the subject of any paper-generated notice.

  18               COURTROOM CLERK:       Right.

  19               THE COURT:     Okay.

  20               COURTROOM CLERK:       It’s just moving --

  21               THE COURT:     It’s moving the three that are on the

  22   28th.    We’re going to leave on Mr. Markham’s and we’re going to

  23   leave on this application for payment of an administrative

  24   expense.

  25               So you’ll take care of the three that are already set



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   1   -- the three motions to approve compromises that are already

   2   set for the 28th; right?

   3              MS. SHERMAN:      Assuming we can serve it on fractional

   4   owners by email and not snail mail to the entire creditor

   5   matrix, because that’s 6,000 people.            I’m looking at I think

   6   maybe --

   7              THE COURT:      Well, how was it originally noticed?          Ms.

   8   Garcia, did we --

   9              MS. SHERMAN:      The motion wasn’t served on the world.

  10   I don’t know how the hearing notice went out.

  11              THE COURT:      She’ll look at that.

  12              COURTROOM CLERK:        First Class mail.        I mean, look.

  13              THE COURT:      It went to everybody?

  14              COURTROOM CLERK:        Yeah.    I mean, I guess I could make

  15   a pro memo from today’s hearing that says the hearings that are

  16   scheduled for April 28th --

  17              THE COURT:      No.   Because somebody on that list --

  18              COURTROOM CLERK:        -- is going to be -- right.

  19   Sixteen pages of creditors.

  20              MS. SHERMAN:      Your Honor, on those, then, if we have

  21   to, we can bump the sale hearings to the 28th, keep the ones on

  22   the 15th that I think -- 104 and 109.

  23              THE COURT:      Okay.    Let me see which ones --

  24              MS. SHERMAN:      We can have them on the 15th and at

  25   least get two of them in.



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   1              THE COURT:      Hold on.     Give me that thing back, Ms.

   2   Garcia, I’ve got to see which ones that they relate to.

   3              138SL, 134SL, and 107SL.

   4              MR. MOHNEY:      Your Honor, I think it’s also 146SL.            It

   5   should be No. 9 and No. 11 are the ones in which Dallas

   6   Airmotive has an interest.

   7              THE COURT:      Okay.

   8              COURTROOM CLERK:        146.

   9              THE COURT:      146, there is no motion for approval of a

  10   compromise filed with respect to 146.

  11              MS. SHERMAN:      Your Honor, they should have been --

  12   all been filed.     The motion to approve compromise and motion to

  13   sell and then pending adversary were all filed in batches.              I

  14   have --

  15              THE COURT:      And 176; there’s 176 as well.

  16              MS. SHERMAN:      Your Honor, I believe there’s a motion

  17   to approve compromise on the docket on both of those.

  18              THE COURT:      All right.      Let’s see where that one was

  19   noticed.   What a mess.

  20              MR. MOHNEY:      Your Honor, I have docket numbers if it

  21   would help with respect to those two (inaudible).

  22              THE COURT:      With respect to --

  23              MR. MOHNEY:      146 and --

  24              THE COURT:      -- 176?

  25              MR. MOHNEY:      -- and 138.



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   1              COURTROOM CLERK:        There’s 711; Document 711 is 107SL.

   2              THE COURT:      And when is 711 set?         Well, that’s set

   3   for the 28th.

   4              COURTROOM CLERK:        Right.

   5              THE COURT:      No.    He’s saying a different one.       Okay.

   6   Now I’m really confused.         Okay.   You have an interest, Mr.

   7   Mohney, in 146, and what’s the other one?

   8              MR. MOHNEY:      138 and 146, Your Honor.

   9              THE COURT:      Hold on.      138 is -- the motion for

  10   approval of compromise is on the 28th.

  11              MR. MOHNEY:      Okay.    And then --

  12              THE COURT:      And so 146, though -- when is 146 set,

  13   Ms. Garcia?    That would be --

  14              MR. MOHNEY:      It’s Docket 668, Your Honor.

  15              THE COURT:      That’s the motion for compromise?

  16              MR. MOHNEY:      Yes.

  17              THE COURT:      Okay.    When is 668 set?

  18              MS. SHERMAN:      That may be the one that’s not set for

  19   hearing at all yet, Your Honor.

  20              THE COURT:      Okay, 668 needs to be set for April the

  21   15th.   Now, what goes -- what’s the number that goes with 176

  22   -- Tail No. 176?

  23              COURTROOM CLERK:        That’s 672.

  24              THE COURT:      And when is that set?

  25              COURTROOM CLERK:        (Inaudible) April 28th.        It’s not?



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   1               THE COURT:     No.

   2               COURTROOM CLERK:       Then that one needs to be set as

   3   well.

   4               THE COURT:     Then that one needs to be set for April

   5   15th.   So 668 and 672 will be set on April 15th to coincide

   6   with the continuance in open court of those two sale motions

   7   that are set on today’s calendar.

   8               COURTROOM CLERK:       Okay.

   9               THE COURT:     But we will leave on the 28th, then, Tail

  10   Nos. 138, 134, and 107.        And we will take 138 -- is that on

  11   today’s calendar?

  12               MS. SHERMAN:     I’m sorry, Your Honor?

  13               THE COURT:     138 on today’s calendar is going to be

  14   continued in open court to April the 28th at 3:00, not the 15th

  15   at 10:00.

  16               That’s No. 9 on our calendar today, Ms. Garcia.

  17               And No. 107 -- oh, 107 is not on our calendar for

  18   today, is it?

  19               MS. SHERMAN:     No, Your Honor.        I believe that was the

  20   most recent one that was uploaded.

  21               THE COURT:     Is 134 on our calendar today?          No.

  22               MS. SHERMAN:     The motion to sell 134 is on the

  23   calendar today.

  24               THE COURT:     What number is that one?

  25               MS. SHERMAN:     Docket No. 686 and it’s on the calendar



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   1   as --

   2              COURTROOM CLERK:        134, is that what you said?          It’s

   3   Item 10.

   4              THE COURT:      Item 10, that one needs to go to the

   5   28th; okay?     So Items 9 and 10 are continued in open court to

   6   April the 28th to coincide with those motions for compromise,

   7   the rest go to April 15th.         So, Nos. 4, 11, and 12 go to April

   8   15th, and the motion to sell 107 needs to be set for April

   9   28th.

  10              COURTROOM CLERK:        Which document was that?

  11              THE COURT:      What number is that one, Ms. Sherman?

  12              MS. SHERMAN:      Your Honor, I don’t have that one in my

  13   hearing notebook because it wasn’t set for hearing today.

  14              THE COURT:      Okay.

  15              MS. SHERMAN:      I apologize.

  16              THE COURT:      Well, we’ve got to get that one tied to

  17   the motion to approve the compromise; right?               So that one needs

  18   to be on the 28th.

  19              MS. SHERMAN:      Correct.      Hopefully they would both get

  20   set for the same date.

  21              THE COURT:      Okay.    Well, we’ve got the compromise

  22   motion set --

  23              MR. GART:     Your Honor, that’s Document 711.

  24              THE COURT:      Thank you.

  25              COURTROOM CLERK:        And the sale is 712.           So both of



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   1   those are which date?

   2                THE COURT:    Yes.    The 28th.     You already have one of

   3   them on -- you have 711 on the 28th, you don’t have 712.

   4                COURTROOM CLERK:      Okay.

   5                THE COURT:    Yet.    Okay.

   6                Now, let me show you the changes or tell you another

   7   change on the motion for reconsideration order.                   The

   8   explanation of the amendment, the footnote, I also said this --

   9   this is at Footnote 1:       This order also clarifies that the

  10   Court considered, quote, conversion, close quote, only for

  11   purposes of transferability of title to parts in, slash, part

  12   of the N169SL aircraft.

  13                And so when this hits the docket, you can make the

  14   changes for the other motions for reconsideration similarly.

  15                I think -- now are we done?         Even though we spent a

  16   half an hour just rescheduling things?

  17                MS. SHERMAN:    Yes, Your Honor, I believe we are.

  18   Thank you.    And it’s before 5:00.

  19                THE COURT:    I know.     Great.

  20                MR. CLARK:    Thank you.

  21                THE COURT:    Thank you.      And when you leave, do tell

  22   the CSO’s that you’re out of Courtroom 8B.

  23                MS. SHERMAN:    Yes, Your Honor.

  24                THE COURT:    Thank you.

  25                      (Hearing concluded at 4:42 p.m.)



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                                        April 1, 2014
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                                         Date
       Transcriber




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